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Counsel for Plaintiff a
United States of America Vp,

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA
OAKLAND DIVISION

Cv Actog 396 9

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UNITED STATES OF AMERICA,
Plaintiff,

CONSENT DECREE, JUDGMENT,
and ORDER

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Vv. )

ALAMEDA COUNTY, CALIFORNIA; )
DAVE MACDONALD, ALAMEDA COUNTY _ )
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REGISTRAR OF VOTERS, in his official
capacity; and the ALAMEDA COUNTY BOARD
OF SUPERVISORS,

Defendants.

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The United States of America filed this action pursuant to Section 203 of the Voting
Rights Act, 42 U.S.C. § 1973aa-la, and pursuant to 28 U.S.C. § 2201, to enforce voting rights
guaranteed by the Fourteenth and Fifteenth Amendments, with respect to the conduct of elections
in Alameda County, California.

The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1345 and
42 US.C. §§ 1973aa-2a. In accordance with 42 U.S.C. § 1973aa-2 and 28 U.S.C. § 2284, the
United States’ Section 203 claim must be heard and determined by a court of three judges.

Alameda County is subject to Section 203 of the Voting Rights Act, which requires that

whenever any covered jurisdiction provides “any registration or voting notices, forms,

‘instructions, assistance, or other material or information relating to the electoral process,

including ballots, it shall provide them in the language of the applicable minority group as well
as in the English language.” 42 U.S.C. 1973aa-la. Alameda County has been continuously
covered by Section 203 since September 18, 1992, and is required by Section 203 to provide
Spanish language and Chinese language written voting material, information and assistance to
voters. 42 U.S.C. § 1973aa-1la(b)(2); 57 Fed. Reg. 43,213 (Sept. 18, 1992); 67 Fed. Reg. 48,871
(July 26, 2002).

According to the 2000 Census, Alameda County had a total population of 1,443,741, of
whom 273,887 (18.9%) were of Hispanic origin and 110,895 (7.6%) were of Chinese origin. In
2000, the voting-age citizen population was 896,918, of whom 106,287 (11.9%) were of
Hispanic origin and 62,154 (6.9%) were of Chinese origin. Of the voting-age citizens of
Hispanic origin, 22,010 (20.7%) were limited-English proficient while 28,280 (45.5%) of the

voting-age citizens of Chinese origin were limited-English proficient.

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The Hispanic origin and Chinese origin populations in Alameda County have grown.
According to the 2005-2009 American Community Survey 5-Year Estimates, Alameda County’s
total population is 1,457,095, of whom 310,688 (21.3%) were of Hispanic origin and 128,891
(8.8%) were of Chinese origin. In 2005-2009, the voting-age citizen population was 919,099, of
whom 122,686 (13.3%) were of Hispanic origin.

On April 13, 1995, the United States filed a lawsuit in the United States District Court for
the Northern District of California against Alameda County for failing to provide election
material and assistance in Chinese for limited-English proficient voters in violation of Sections 2

and 203 of the Voting Rights Act. United States v. Alameda County, C95-1266 (N.D. Cal.). On

January 22, 1996, the Court entered a Settlement Agreement and Order which, among other
things, required the County to provide Chinese language assistance and materials to limited-
English proficient voters. Id. Further, the Settlkement Agreement and Order permanently:
enjoined Defendants from failing to comply with the requirements of Sections 2 and 203 of the
Voting Rights Act.

The United States contends in this action that Alameda County has failed to implement
an effective minority language election program for Spanish-speaking voters and Chinese-
speaking voters in violation of Section 203 of the Voting Rights Act. The United States further
contends that Alameda County has failed to hire, train, and place qualified bilingual poll workers
in polling places with significant limited-English proficient Spanish-speaking and Chinese-
speaking voters. The United States also contends that Alameda County has failed to translate
and disseminate all written election material and information into Spanish and Chinese,

including information published on its website.

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Because Defendants are committed to complying fully with the Voting Rights Act and
the Parties wish to avoid protracted and costly litigation, Plaintiff United States of America and
Defendants Alameda County, California, Dave Macdonald, Registrar of Voters, in his official
capacity, and the Alameda County Board of Supervisors (‘the Parties”) have agreed that this
lawsuit should be resolved through the terms of this Consent Decree (“Decree”). Accordingly,
the Parties hereby consent to the entry of this Decree, as indicated by the signatures of counsel at
the end of this Order. Except as provided in this Decree, the Parties waive further hearings and
entry of findings of fact and conclusions of law on all issues involved in this matter. Each party
shall bear its own costs and fees.

Accordingly, it is hereby ORDERED, ADJUDGED, AND DECREED that:

1. Defendants, their agents, employees, contractors, successors, and all other persons
representing the interests of Defendants are hereby permanently enjoined from failing to provide
“any registration or voting notices, forms, instructions, assistance, or other materials or
information relating to the electoral process, including ballots” in “the language of the applicable
minority group,” specifically in the Spanish language and the Chinese language, “‘as well as in
the English language,” as required by Section 203 of the Voting Rights Act, 42 U.S.C. 1973aa-
la.

2. The terms of this Decree apply to all federal, state, and local elections that are
administered by the County. Whenever Defendants enter into an election services contract with
any other entity, political subdivision, or political party to conduct an election on behalf of that
entity, Defendants shall require such entity to agree to abide by the terms of this Decree as if
such entity were a party to this Decree, and consistent with the responsibility of each entity to

comply fully with Section 203 of the Voting Rights Act.
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Translation and Dissemination of Election-Related Materials

3. All information that is disseminated by Alameda County in English about

“registration or voting notices, forms, instructions, assistance, or other materials or information

relating to the electoral process, including ballots,” 42 U.S.C. 1973aa-1a, shall also be provided
in the Spanish and Chinese languages.

4, Defendants shall utilize a certified translator to prepare translated materials. The
translator shall work in coordination with the bilingual election program Coordinator and the
Advisory Group described in paragraphs 24 - 26 to ensure that bilingual materials are complete,
accurate, linguistically competent and accessible for limited-English proficient voters.

5. Any voting system the County employs shall be multilingual, as described below.
If the County uses electronic voting machines, these machines shall offer the readily apparent
options of a Spanish ballot and Chinese ballot, and any audio version of the ballot on such
machines shall be available at least in English, Spanish, and Chinese. Any paper ballots the
County uses in English, including the official ballot, the provisional ballot, and the absentee
ballot, shall also be available in translated bilingually in English and Spanish and English and
Chinese.

6. If there is a precinct with English, Spanish, and Chinese-speaking voters, then the
County shall ensure that both English and Spanish and English and Chinese ballots are visible
and available on an equal basis. The County shall provide at least enough English and Spanish
and English and Chinese ballots to equal the number of registered voters in a precinct whose
surname indicates membership in a particular minority group. Moreover, the County shall
ensure that the boxes containing the Spanish and Chinese ballots are clearly marked in bold

lettering to avoid poll worker confusion. The Parties may by written agreement adjust the above

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described standard in light of confirmed information that the actual language need in a particular
precinct is less or greater than that standard.

7. To the extent the County posts instructions on casting a ballot and other
information in English in the voting booth, the County shall also provide that same information
in Spanish and Chinese.

8. Sample ballots and other written materials mailed to voters’ homes shall be
provided in Spanish and Chinese to voters who have requested translated materials. The
translated materials must include all of the relevant information provided in the English language
version, and these minority language materials must be mailed out at the same time as the
English language materials.

9. Defendants shall ensure that all Spanish, Chinese, and English language election
information, materials, and announcements are made equally available. Spanish and Chinese
language information shall be distributed in newspapers, radio, the Internet, and other media that
exclusively or regularly publish or broadcast information in Spanish and Chinese to the local
population. Dissemination of these minority language announcements shall be in the form,
frequency and media best calculated to achieve notice and understanding equal to that provided
to the English-speaking population and to provide substantially the same information, but need
not be identical in all respects to English language announcements.

10. The County shall affirmatively contact by telephone and in writing all identifiable
Hispanic and Chinese organizations in the County as well as organizations that serve Spanish-
speaking or Chinese-speaking citizens to inform these groups of this Decree and solicit their
assistance in contacting limited-English proficient voters. Within 30 days of the entry of this

Decree, the County shall also extensively distribute postage prepaid cards through these groups
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to provide limited-English proficient individuals with instructions on how to obtain Spanish
language or Chinese language voting and election materials at home, and the County shall also
mail these cards to all voters with Spanish or Chinese surnames who were born in either a
Spanish-speaking or Chinese-speaking country and have thus far not requested election materials
in a minority language.

Spanish and Chinese Language Assistance

11. Spanish and Chinese language assistance shall be available at all locations where
election-related transactions are conducted except as outlined below for election precincts.
Trained bilingual (Spanish fluent plus English fluent and Chinese fluent plus English fluent)
election personnel shall be available to answer voting-related questions by telephone without
cost to voters during normal business hours at the Registrar of Voters’ office. The County may
coordinate the provision of such services with other governmental or non-governmental entities
that conduct elections.

12. Defendants shall recruit, hire, and assign poll officials able to understand, speak,
write and read Spanish and English fluently to provide effective assistance to Spanish-speaking
voters at the polls on election days. Defendants shall recruit, hire, and assign poll officials able
to understand, speak, write and read Chinese and English fluently to provide effective assistance
to Chinese-speaking voters at the polls on election days.

13. Alameda County agrees that in targeting precincts for bilingual assistance it shall
consult Spanish and Chinese surnames of registered voters, data from the 2010 Census and the
most recent Five-Year Survey data from the American Community Survey regarding the location

of persons of Hispanic origin and persons of Chinese origin in the County.

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Defendants agree to the following targets for Spanish language assistance with

bilingual poll workers fluent in English and Spanish:

a. any election precinct in which there are 100-249 registered voters
with Spanish surnames shall be staffed by at least one bilingual election
official;

b. any election precinct in which there are 250-499 registered voters
with Spanish surnames shall be staffed by at least two bilingual election
officials; and

c. any election precinct in which there are 500 or more registered
voters with Spanish surnames shall be staffed by at least three bilingual
election officials.

d. If the ACS data shows that the persons identified as Hispanic
origin at the block group level are less than three percent of the population
in a particular area, and therefore it is questionable whether there are a
significant number of Spanish-speaking voters in that area, the County
shall notify the United States that it will not be providing bilingual poll
workers in that particular area, unless it would be required by paragraph

14(e) of this consent decree.

e. If the County has received 10 or more requests for translated
materials from limited-English proficient Spanish-speaking voters in a
particular precinct, the County shall provide at least one bilingual poll

worker.

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f. Defendants shall employ bilingual personnel, trained in Spanish
language election terminology, who shall be on call and available to travel
to a precinct insufficiently staffed by bilingual poll officials to provide any
necessary assistance to any limited-English proficient Spanish-speaking
voter.
15. Defendants further agree to provide Chinese language assistance (in Mandarin or
Cantonese, depending on the limited-English proficient Chinese-speaking population’s needs)

with bilingual poll workers fluent in English and Chinese, as follows:

a. any election precinct in which there are 35-84 registered voters
with Chinese surnames shall be staffed by at least one bilingual election

official;

b. any election precinct in which there are 85-169 registered voters
with Chinese surnames shall be staffed by at least two bilingual election

officials;

C. any election precinct in which there are 170-339 registered voters
with Chinese surnames shall be staffed by at least three bilingual election

officials; and

d. any election precinct in which there are 340 or more registered
voters with Chinese surnames shall be staffed by at least four bilingual

election officials.

e. If the County has received 10 or more requests for translated

materials from limited-English proficient Chinese-speaking voters ina -

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particular precinct, the County shall provide at least one bilingual poll

worker.

f. Defendants shall employ bilingual personnel, trained in Chinese
language election terminology, who shall be on call and available to travel
to a precinct insufficiently staffed by bilingual poll officials to provide any
necessary assistance to any limited-English proficient Chinese-speaking

voter.

16. In the event that the formula outlined in Paragraphs 14 and 15 above requires that
more than four bilingual poll workers be assigned to a single precinct, the Parties may agree to
modify the number of required bilingual poll workers in that precinct.

17. Defendants shall also provide bilingual Spanish language and Chinese language
assistance, materials and information at all early voting polling sites.

18. The Parties may, by written agreement, adjust these requirements in light of
reliable information that the actual need for language assistance in a particular polling place is
lesser or greater than these standards or that the anticipated voter turnout is substantially lower or
higher than average voter turnout.

19. Signs in English, Spanish, and Chinese shall be posted prominently at all polling
places stating that Spanish language assistance and Chinese language assistance is available. At
sites without bilingual staff, signs in English, Spanish, and Chinese shall be posted that explain
how voters can obtain Spanish language assistance and Chinese language assistance. The
County will establish a call-in number available to all polling places that has bilingual

interpreters standing by to assist voters.

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Other Language Minority Groups

20. Currently, the only language minority groups covered by Section 203 in Alameda
County are Spanish-speaking and Chinese-speaking limited-English proficient voters. However,
Defendants agree to follow any future determinations made by the Director of the Census and
Congress regarding the County’s Section 203 obligations. Specifically, Defendants agree to
provide bilingual assistance, materials and information to any other Alameda County language

minority group(s) that may be covered in the future by Section 203.

Election official training

21. Prior to each election, in addition to any required state or county training, the
County shall train all poll officials and other election personnel present at the polls, including
student poll workers, regarding the provisions of Section 203 of the Voting Rights Act, including
the legal obligation and means to make Spanish language and Chinese language assistance and
materials available to voters, and the requirement that poll officials be respectful and courteous
to all voters regardless of race, ethnicity, color, or language abilities and to avoid inappropriate
comments.

22. In addition to the general training for poll officials, the County shall train all
bilingual poll officials on Spanish language and Chinese language election terminology, voting
instructions and other election-related issues. The County shall maintain a record of which poll
officials attend training sessions, including the time, location and training personnel involved.
The County shall provide a copy of the training manual to the United States prior to the start of

training sessions. Personnel from the United States will be permitted to observe the training.

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Response to Complaints About Poll Officials

23. Defendants, upon receipt of complaints by voters, whether oral or written, relating
to minority language voters, materials or assistance shall investigate expeditiously any such

election-related allegations, including poll official hostility toward Spanish-speaking or Chinese-

_ speaking voters in any election. The results of the investigation(s) conducted by the Defendants

shall be reported to the United States within 30 days. The report shall include the County’s
“Trouble Ticket(s)” generated regarding the matter. Where there is credible evidence that poll
officials have engaged in inappropriate treatment of Spanish-speaking or Chinese-speaking

voters, Defendants shall remove those poll officials.

Spanish Language and Chinese Language Election Program Coordinators

24. Defendants shall designate individuals to coordinate the County’s Spanish
language and Chinese language election program (‘“‘the Coordinators”) for all elections within the
County. Defendants shall provide the Coordinators with support sufficient to meet the goals of
the program. The Coordinators shall be able to understand, speak, write and read fluently both
Spanish and English or Chinese and English. The Coordinators’ responsibilities shall include
coordination of the translation of ballots and other election information; development and
oversight of Spanish and Chinese language publicity programs, including selection of
appropriate Spanish language and Chinese language media for notices and announcements;
training, recruitment and assessment of Spanish language proficiency and Chinese language
proficiency of bilingual poll officials and interpreters; and managing other aspects of the

program.

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Advisory Group

25. Defendants shall establish an Advisory Group to assist and inform the Spanish
language and Chinese language election program. The Advisory Group shall be open to any
interested community members and organizations and will help to determine how to most
effectively provide election materials, information, and assistance to Spanish-speaking and
Chinese-speaking voters. Defendants shall maintain a roster of the Advisory Group members
together with the telephone and facsimile numbers or e-mail addresses of each member. The
Advisory Group shall meet regularly for six months prior to the first election conducted by
Defendants under the Decree and at least once during the two months after the election.
Thereafter, the Advisory Group shall meet as it determines is necessary, so long as it meets at
least three times during the six months before the November 2012 general election, at least once
during the two months after the November 2012 general election. The Parties may by writing
adjust the Advisory Group’s meeting schedule after consultation with the Advisory Group. The
Coordinators shall provide notice of all planned meetings, including the date, time, location and
agenda at least 14 days in advance of such meeting, although members of the Advisory Group
may agree to waive or shorten this time period as necessary.

26. Within five days after each meeting, the Coordinator shall provide a written
summary of the discussion and any decisions reached at the meeting to all Advisory Group
members and to the Registrar of Voters. Ifthe Registrar of Voters decides not to implement an
Advisory Group’s suggestion or a consensus cannot be reached respecting such suggestion, the
Registrar of Voters shall provide to the Advisory Group through the Coordinators, and maintain

on file a written statement of the reasons for rejecting such suggestion. Defendants shall provide

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a copy of each such summary and report to each member of the Advisory Group and to any
additional interested member of the public who requests such information.

27. Defendants shall transmit to all members of the Advisory Group, and to any
additional interested member of the public who requests such information, in English, Spanish,
or Chinese, copies of all election information, announcements and notices that are provided or
made available to the electorate and general public, and request that they share such information

with others.

Federal Observers

28. To assist in monitoring compliance with and ensure effectiveness of this Decree,
and to implement the voting guarantees of the Fourteenth and Fifteenth Amendments for the
citizens of Alameda County, the appointment of federal observers is authorized for Alameda
County pursuant to Section 3(a) of the Voting Rights Act, 42 U.S.C. § 1973a(a), for the duration
of this Decree.

29. Defendants shall recognize the authority of Federal observers to gather
information and to observe all aspects of voting conducted in the polls on election day, including
the authority to view County personnel providing assistance to voters during voting, except

where the voter objects.

Evaluation, Modification and Termination

30. The Parties recognize that regular and ongoing reassessment may be necessary to
provide the most effective and efficient Spanish language and Chinese language election
program. Defendants shall evaluate the Spanish language and Chinese language election

program after each election to determine which aspects of the program are functioning well;

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whether any aspects need improvement; and how to effect needed improvements. The program

may be adjusted at any time upon the joint written agreement of the Parties.

31. | This Decree shall terminate no later than March 30, 2017. The Decree may
terminate on an earlier date, provided the Parties agree or this Court determines, in accordance
with the procedures in paragraphs 32-35 below, that Defendants have achieved substantial
compliance with the terms of the Decree for the previous two election cycles.

32. If after the November 2014 election, or anytime subsequent to that date,
Defendants’ assessments show that they have been substantially complying with all aspects of
this Decree for the previous two election cycles and have the intent and means to continue
compliance with Section 203, Defendants will file a report with the United States demonstrating
substantial compliance with each provision of this Decree. An “election cycle” refers to all
elections administered by Defendants during a calendar year. Defendants shall include with any
certification request reports from the Coordinator and the Advisory Group detailing Defendants’
efforts to comply with the Decree. Defendants shall bear the burden of demonstrating that they
have substantially complied with the Decree and maintained substantial compliance for the
required period.

33. After conferring with Defendants, the United States, in its good faith discretion,
will determine whether Defendants have maintained substantial compliance for the requisite
election cycles, and a conclusion of substantial compliance may not be unreasonably withheld.
If the Parties agree that there is substantial compliance, they shall file a joint motion with the

Court to terminate the Decree.

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34. If the United States determines that the.County has not substantially complied for
the requisite period, and if Defendants dispute such determination, the County may file a motion
with this Court for termination of the Decree after the November 2014 election, or anytime
subsequent to that date. In any such proceeding, the County shall have the burden of
demonstrating substantial compliance. The County must notify the United States and the
Advisory Group and provide public notice of its intention to file such motion at least 45 days
prior to filing a contested motion to terminate the Decree. The County shall make public the
report sent to the United States showing substantial compliance and invite comments from the
public. The County shall allow at least 30 days for public comment before filing the motion to
terminate the Decree. The County shall provide all comments received to the United States.

35. Within thirty (30) days after submission of the information described in paragraph

_ 39 below regarding any election conducted throughout the term of this Agreement, the United

States shall notify Defendants’ counsel and the Registrar of Voters of any known alleged
violation or potential violation of this Agreement and shall provide Defendants a report detailing
Defendants’ alleged violation of this Agreement. The United States and Defendants shall work
together in good faith to remedy as soon as possible any violation of this Agreement. Defendants
may provide a written response to the federal observers’ report within thirty (30) days after
receipt of the written report. If Defendants fail to submit a written response within thirty (30)
days, or indicate in their written response that Defendants do not have the intent or means to
comply with the terms of this Agreement applicable to the particular election, the United States
shall have the right to seek such relief as may be necessary to enforce the terms of this

Agreement.

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Retention of Documents and Reporting Requirements

36. Throughout the duration of this Decree, Defendants shall make and maintain
written records of all actions taken pursuant to this Decree sufficient to document their
compliance with all of the requirements of the Decree. Such records shall be made available to
the United States upon its request and upon reasonable notice.

37. During the duration of this Decree, at least 30 days before each County
administered election, except for mail ballot elections, Defendants shall provide to counsel for

the United States:
a. the name, address and precinct designation of each polling place;

b. the name and title of each poll official appointed and assigned to serve at

each polling place, as of the date the materials are sent;

C. a designation of whether each poll official is bilingual in English and

Spanish or English and Chinese;

d. an electronic copy of the voter registration list to be used in such elections;

e. copies of any signs or other written information provided at polling places;
and

f. agendas and minutes from previous meetings of the Advisory Group.

38. During the duration of this Decree, at least 30 days before each County-

administered vote by mail election, Defendants shall provide to counsel for the United States:

a. an electronic copy of the voter registration list to be used in such elections;

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b. a copy of all the materials and information relating to the vote by mail
election that the County sent its voters, including all translated materials

and information; and
C. agendas and minutes from previous meetings of the Advisory Group.

39. Within 30 days after each such election, the County shall provide to counsel for
the United States any updated report regarding changes in these items as well as information
about all complaints the County received at the election regarding language or assistance issues,

by express mail or electronically to the following address:

United States Department of Justice
Civil Rights Division

Voting Section

950 Pennsylvania Avenue NW
Room NWB-7254

Washington, D.C. 20530
Telephone: (202) 353-0419
Facsimile: (202) 307-3961

bruce. gear@usdoj.gov
olimpia.michel@usdoj.gov

Other Provisions

40. This decree is final and binding regarding the claims raised in this action.
41. The Court shall retain jurisdiction of this case to enter further relief or such other
orders as may be necessary for the effectuation of the terms of this agreement and to ensure

compliance with Section 203 of the Voting Rights Act.

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AGREED AND CONSENTED TO:

Date: 30 day of June, 2011

For Plaintiff:
UNITED STATES OF AMERICA -

THOMAS E. PEREZ
Civil Rights Division
Assistant Attomey General

MELINDA HAAG
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For Defendants:

ALAMEDA COUNTY, CALIFORNIA;
DAVE MACDONALD, ALAMEDA
COUNTY REGISTRAR OF VOTERS, in
his official capacity; and the ALAMEDA
COUNTY BOARD OF SUPERVISORS.

By fF

- RAYMOND S. LARA

Deputy County Counsel

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JUDGMENT AND ORDER

This three-judge Court, convened under 28 U.S.C. 2284 and 42 U.S.C. § 1973aa-2,
having considered the United States’ claim under Section 203 of the Voting Rights Act, 42
U.S.C. § 1973aa-1a, and having determined that it has jurisdiction over this claim, has
considered the terms of this Consent Decree, and hereby enters the relief set forth above and
incorporates those terms herein. Pursuant to Section 3(a) of the Voting Rights Act, 42 U.S.C.
1973a(a), federal observers are authorized to attend and observe elections in Alameda County

during the period of this decree.

ENTERED and ORDERED this _ day of , 2011.

UNITED STATES CIRCUIT JUDGE

UNITED STATES DISTRICT JUDGE

UNITED STATES DISTRICT JUDGE

CONSENT DECREE

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